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                                                                                              ASSET CASES
Case No:          19-32071      SWE    Judge: SCOTT W. EVERETT                                                                  Trustee Name:                     DANIEL J. SHERMAN, TRUSTEE
Case Name:        PERMIAN CRUDE TRANSPORT, LP                                                                                  Date Filed (f) or Converted (c):   06/24/19 (f)
                                                                                                                               341(a) Meeting Date:               07/24/19
For Period Ending: 06/30/22    (4th reporting period for this case)                                                            Claims Bar Date:                   12/11/19



                                   1                                           2                          3                         4                         5                                 6
                                                                                                 Estimated Net Value
                                                                           Petition/        (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                            Asset Description                             Unscheduled          Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                (Scheduled and Unscheduled (u) Property)                    Values                and Other Costs)          OA=554(a) Abandon             the Estate

 1. CHASE BANK CHECKING ACCOUNT                                                    464.05                        464.05                                                0.00                  FA
     * DEMAND MADE FOR TURNOVER


 2. ACCOUNTS RECEIVABLE                                                              0.00                           0.00                                          2,177.67                   FA
     $251,202.00 OVER 90 DAYS OLD AND UNCOLLECTIBLE.


 3. TRACTOR - 2013 KENWORTH T800                                              32,500.00                       32,500.00                                                0.00                  FA
     VIN 1XKDD79X1DJ362700


 4. TRACTOR - 2013 KENWORTH T800                                              32,500.00                       32,500.00                                                0.00                  FA
     VIN 1XKDD79X3DJ362701


 5. TRACTOR - 2013 KENWORTH T800                                              32,500.00                       32,500.00                                                0.00                  FA
     VIN 1XKDD79X5DJ362702


 6. TRACTOR - 2013 KENWORTH T800                                              32,500.00                       32,500.00                                                0.00                  FA
     VIN 1XKDD79X9DJ362704


 7. TRACTOR - 2013 KENWORTH T800                                              32,500.00                       32,500.00                                                0.00                  FA
     VIN 1XKDD79X0DJ362705


 8. 2014 KENWORTH T800                                                        50,000.00                       50,000.00                                                0.00                  FA
     VIN 1XKDD79X1EJ390028


 9. 2014 KENWORTH T800                                                        45,000.00                       45,000.00                                                0.00                  FA
     VIN 1XKDD79XXEJ390030



LFORM1                                                                                                                                                                                                      Ver: 22.06b
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Case No:        19-32071      SWE    Judge: SCOTT W. EVERETT                                                           Trustee Name:                     DANIEL J. SHERMAN, TRUSTEE
Case Name:      PERMIAN CRUDE TRANSPORT, LP                                                                           Date Filed (f) or Converted (c):   06/24/19 (f)
                                                                                                                      341(a) Meeting Date:               07/24/19
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                                 1                                      2                        3                         4                         5                                 6
                                                                                        Estimated Net Value
                                                                    Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                          Asset Description                        Unscheduled        Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
              (Scheduled and Unscheduled (u) Property)               Values              and Other Costs)          OA=554(a) Abandon             the Estate


 10. 2014 KENWORTH T800                                                20,000.00                     20,000.00                                                0.00                  FA
     VIN 1XKDD79X3EJ390029


 11. 2014 KENWORTH T800                                                40,000.00                     40,000.00                                                0.00                  FA
     VIN 1XKDD79X1EJ390031


 12. 2014 KENWORTH T800                                                40,000.00                     40,000.00                                                0.00                  FA
     VIN 1XKDD79X8EJ391371


 13. 2014 KENWORTH T800                                                45,000.00                     45,000.00                                                0.00                  FA
     VIN 1XKDD79X2EJ391379


 14. 2014 KENWORTH T800                                                45,000.00                     45,000.00                                                0.00                  FA
     VIN 1XKDD79X2EJ391382


 15. 2014 KENWORTH T800                                                50,000.00                     50,000.00                                                0.00                  FA
     VIN 1XKDD79X0EJ391378


 16. 2014 KENWORTH T800                                                45,000.00                     45,000.00                                                0.00                  FA
     VIN 1XKDD79X73J391376


 17. 2014 KENWORTH T800                                                15,000.00                     15,000.00                                                0.00                  FA
     VIN 1XKDD79X4EJ391383


 18. 2014 KENWORTH T800                                                37,500.00                     37,500.00                                                0.00                  FA



LFORM1                                                                                                                                                                                             Ver: 22.06b
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Case No:        19-32071      SWE    Judge: SCOTT W. EVERETT                                                           Trustee Name:                     DANIEL J. SHERMAN, TRUSTEE
Case Name:      PERMIAN CRUDE TRANSPORT, LP                                                                           Date Filed (f) or Converted (c):   06/24/19 (f)
                                                                                                                      341(a) Meeting Date:               07/24/19
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                                                                                        Estimated Net Value
                                                                    Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                          Asset Description                        Unscheduled        Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
              (Scheduled and Unscheduled (u) Property)               Values              and Other Costs)          OA=554(a) Abandon             the Estate

     VIN 1XKDD79X9EJ391377


 19. 2014 KENWORTH T800                                                50,000.00                     50,000.00                                                0.00                  FA
     VIN1XKDD79X0EJ391381


 20. 2014 KENWORTH T800                                                45,000.00                     45,000.00                                                0.00                  FA
     VIN 1XKDD79X6EJ391384


 21. 2016 KENWORTH T800                                                60,000.00                     60,000.00                                                0.00                  FA
     VIN 3WKDD79X8GF498220


 22. 2016 KENWORTH T800                                                55,000.00                     55,000.00                                                0.00                  FA
     VIN 3WKDD79XXGF498221


 23. 2016 KENWORTH T800                                                60,000.00                     60,000.00                                                0.00                  FA
     VIN 3WKDD79X1GF498222

     LIEN OF FROST BANK. VALUE OF COLLATERAL $795,000.00.
     AMOUNT OF CLAIM UNKNOWN.


 24. 2016 KENWORTH T800                                                60,000.00                     60,000.00                                                0.00                  FA
     VIN 3WKDD79X3GF498223


 25. 2016 KENWORTH T800                                                55,000.00                     55,000.00                                                0.00                  FA
     VIN 3WKDD79X7GF498225




LFORM1                                                                                                                                                                                             Ver: 22.06b
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Case Name:     PERMIAN CRUDE TRANSPORT, LP                                                                           Date Filed (f) or Converted (c):   06/24/19 (f)
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                                                                                       Estimated Net Value
                                                                   Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                         Asset Description                        Unscheduled        Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
             (Scheduled and Unscheduled (u) Property)               Values              and Other Costs)          OA=554(a) Abandon             the Estate

 26. 2016 KENWORTH T800                                               55,000.00                     55,000.00                                                0.00                  FA
     VIN 3WKDD79X7GF498226


 27. 2016 KENWORTH T800                                               60,000.00                     60,000.00                                                0.00                  FA
     VIN 3WKDD79X7GF498227


 28. 2016 KENWORTH T800                                               60,000.00                     60,000.00                                                0.00                  FA
     VIN 3WKDD79X7GF498228


 29. 2016 KENWORTH T800                                               52,500.00                     52,500.00                                                0.00                  FA
     VIN 3WKDD79X7GF498229


 30. 2016 KENWORTH T800                                               55,000.00                     55,000.00                                                0.00                  FA
     VIN 3WKDD79X7GF498230


 31. 2016 KENWORTH T800                                               52,500.00                     52,500.00                                                0.00                  FA
     VIN 3WKDD79X2GF498231


 32. 2016 KENWORTH T800                                               55,000.00                     55,000.00                                                0.00                  FA
     VIN 3WKDD79X4GF498232


 33. 2014 KENWORTH T800                                               40,000.00                     40,000.00                                                0.00                  FA


 34. 2016 KENWORTH T800                                               55,000.00                     55,000.00                                                0.00                  FA
     VIN 3WKDD79X6GF498233




LFORM1                                                                                                                                                                                            Ver: 22.06b
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Case Name:      PERMIAN CRUDE TRANSPORT, LP                                                                           Date Filed (f) or Converted (c):   06/24/19 (f)
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                                                                                        Estimated Net Value
                                                                    Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                          Asset Description                        Unscheduled        Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
              (Scheduled and Unscheduled (u) Property)               Values              and Other Costs)          OA=554(a) Abandon             the Estate

 35. 2016 KENWORTH T800                                                60,000.00                     60,000.00                                                0.00                  FA
     VIN 3WKDD79X8GF498234


 36. 2016 KENWORTH T800                                                32,500.00                     32,500.00                                                0.00                  FA
     VIN 1XKWD49X6CDJ365325


 37. 2016 KENWORTH T800                                                40,000.00                     40,000.00                                                0.00                  FA
     VIN 1XKDD49XXFJ437928


 38. 2012 MACK GU813 TRUCK                                             25,000.00                     25,000.00                                           21,431.82                  FA
     VIN 1M2AX18Y9CM017646

     *LIEN OF BIG SHOULDER CAPITAL, LLC - VALUE OF
     COLLATERAL $227,500.00. AMOUNT OF CLAIM UNKNOWN.


 39. TRAILER - 2008 HEIL                                               18,500.00                     18,500.00                                                0.00                  FA
     VIN 5HTDL452785G22652


 40. TRAILER - 2008 HEIL                                               18,500.00                     18,500.00                                                0.00                  FA
     VIN5HTDL45208G22654


 41. TRAILER - 2008 HEIL                                               18,500.00                     18,500.00                                                0.00                  FA
     VIN 5HTDL452285G22655


 42. TRAILER - 2008 HEIL                                               18,500.00                     18,500.00                                                0.00                  FA
     VIN 5HTDL452485G22656




LFORM1                                                                                                                                                                                             Ver: 22.06b
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Case Name:      PERMIAN CRUDE TRANSPORT, LP                                                                           Date Filed (f) or Converted (c):   06/24/19 (f)
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                                                                                        Estimated Net Value
                                                                    Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                          Asset Description                        Unscheduled        Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
              (Scheduled and Unscheduled (u) Property)               Values              and Other Costs)          OA=554(a) Abandon             the Estate


 43. TRAILER - 2008 HEIL                                               18,500.00                     18,500.00                                                0.00                  FA
     VIN 5HTDL452X85G22659


 44. TRAILER - 2008 HEIL                                               18,500.00                     18,500.00                                                0.00                  FA
     VIN 5HTDL452885G22658


 45. TRAILER - 2008 HEIL                                               18,500.00                     18,500.00                                                0.00                  FA
     VIN 5HTDL452685G22657


 46. TRAILER - 2008 HEIL                                               18,500.00                     18,500.00                                                0.00                  FA
     VIN 5HTDL452685G22660


 47. TRAILER - 2008 HEIL                                               18,500.00                     18,500.00                                                0.00                  FA
     VIN 5HTDL452885G22661


 48. TRAILER - 2008 HEIL                                               18,500.00                     18,500.00                                                0.00                  FA
     VIN 5HTDL452X85G23066


 49. TRAILER - 2008 HEIL                                               18,500.00                     18,500.00                                                0.00                  FA
     VIN 5HTDL452185G23067


 50. TRAILER - 2008 HEIL                                               18,500.00                     18,500.00                                                0.00                  FA
     VIN 5HTDL452195G23068


 51. TRAILER - 2008 HEIL                                               18,500.00                     18,500.00                                                0.00                  FA



LFORM1                                                                                                                                                                                             Ver: 22.06b
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                                                                                        Estimated Net Value
                                                                    Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                          Asset Description                        Unscheduled        Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
              (Scheduled and Unscheduled (u) Property)               Values              and Other Costs)          OA=554(a) Abandon             the Estate

     VIN 5HTDL452395G23069


 52. TRAILER - 2009 HEIL                                               19,000.00                     19,000.00                                                0.00                  FA
     VIN 5HTDL452295G23144


 53. TRAILER - 2009 HEIL                                               19,000.00                     19,000.00                                                0.00                  FA
     VIN 5HTDL452495G23145


 54. TRAILER - 2009 HEIL                                               19,000.00                     19,000.00                                                0.00                  FA
     VIN 5HTDL452195G23149


 55. TRAILER - 2009 HEIL                                               19,000.00                     19,000.00                                                0.00                  FA
     VIN 5HTDL452895G23150


 56. TRAILER - 2009 HEIL                                               19,000.00                     19,000.00                                                0.00                  FA
     VIN 5HTDL452X95G23151


 57. TRAILER - 2009 HEIL                                               19,000.00                     19,000.00                                                0.00                  FA
     VIN 5HTDL452195G23152


 58. TRAILER - 2009 HEIL                                               19,000.00                     19,000.00                                                0.00                  FA
     VIN 5HTDL452395G23153


 59. TRAILER - 2009 HEIL                                               19,000.00                     19,000.00                                                0.00                  FA
     VIN 5HTDL452595G23154




LFORM1                                                                                                                                                                                             Ver: 22.06b
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                                                                                        Estimated Net Value
                                                                    Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                          Asset Description                        Unscheduled        Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
              (Scheduled and Unscheduled (u) Property)               Values              and Other Costs)          OA=554(a) Abandon             the Estate

 60. TRAILER - 2009 HEIL                                               19,000.00                     19,000.00                                                0.00                  FA
     VIN 5HTDL452795G23155


 61. TRAILER - 2009 HEIL                                               19,000.00                     19,000.00                                                0.00                  FA
     VIN 5HTDL452995G23156


 62. TRAILER - 2009 HEIL                                               19,000.00                     19,000.00                                                0.00                  FA
     VIN 5HTDL452095G23160


 63. TRAILER - 2009 HEIL                                               19,000.00                     19,000.00                                                0.00                  FA
     VIN 5HTDL452395G23198


 64. TRAILER - 2012 STEPHENS                                           24,000.00                     24,000.00                                                0.00                  FA
     VIN 1S9AB15B6CH474174


 65. TRAILER - 2012 STEPHENS                                           24,000.00                     24,000.00                                                0.00                  FA
     VIN 1S9AB15B5CH474182


 66. TRAILER - 2012 STEPHENS                                           24,000.00                     24,000.00                                                0.00                  FA
     VIN 1S9AB15BXCH474176


 67. 2011 STEPHENS                                                     22,500.00                     22,500.00                                                0.00                  FA
     VIN 1S9AB15B4CH474173


 68. TRAILER - 2012 STEPHENS                                           24,000.00                     24,000.00                                                0.00                  FA
     VIN 1S9AB15B1CH474177



LFORM1                                                                                                                                                                                             Ver: 22.06b
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                                                                                        Estimated Net Value
                                                                    Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                          Asset Description                        Unscheduled        Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
              (Scheduled and Unscheduled (u) Property)               Values              and Other Costs)          OA=554(a) Abandon             the Estate


 69. TRAILER - 2012 STEPHENS                                           24,000.00                     24,000.00                                                0.00                  FA
     VIN 1S9AB15B3CH474178


 70. TRAILER - 2012 STEPHENS                                           24,000.00                     24,000.00                                                0.00                  FA
     VIN 1S9AB15B5CH474179


 71. TRAILER - 2012 STEPHENS                                           24,000.00                     24,000.00                                                0.00                  FA
     VIN 1S9AB15B3CH474181


 72. TRAILER - 2012 STEPHENS                                           24,000.00                     24,000.00                                                0.00                  FA
     VIN1S9AB15B1CH474180


 73. TRAILER - 2012 DRAGON                                             24,000.00                     24,000.00                                                0.00                  FA
     VIN 1UNST4423CS099973


 74. TRAILER - 2012 DRAGON                                             24,000.00                     24,000.00                                                0.00                  FA
     VIN 1UNST4429CS099976


 75. TRAILER - 2012 DRAGON                                             24,000.00                     24,000.00                                                0.00                  FA
     VIN 1UNST4427CS099975


 76. TRAILER - 2013 STEPHENS                                           25,000.00                     25,000.00                                                0.00                  FA
     VIN 1S9AB15B4DH474305


 77. TRAILER - 2013 STEPHENS                                           25,000.00                     25,000.00                                                0.00                  FA



LFORM1                                                                                                                                                                                             Ver: 22.06b
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                                                                                        Estimated Net Value
                                                                    Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                          Asset Description                        Unscheduled        Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
              (Scheduled and Unscheduled (u) Property)               Values              and Other Costs)          OA=554(a) Abandon             the Estate

     VIN 1S9AB15B6DH474306


 78. TRAILER - 2013 STEPHENS                                           25,000.00                     25,000.00                                                0.00                  FA
     VIN 1S9AB15BXDH474308


 79. TRAILER - 2013 STEPHENS                                           25,000.00                     25,000.00                                                0.00                  FA
     VIN 1S9AB15B8DH474307


 80. TRAILER - 2013 STEPHENS                                           25,000.00                     25,000.00                                                0.00                  FA
     VIN 1S9AB15BB1DH474309


 81. TRAILER - 2013 STEPHENS                                           25,000.00                     25,000.00                                                0.00                  FA
     VIN 1S9AB15BXDH474311


 82. TRAILER - 2013 STEPHENS                                           25,000.00                     25,000.00                                                0.00                  FA
     VIN 1S9AB15B8DH474310


 83. TRAILER - 2013 STEPHENS                                           10,000.00                     10,000.00                                                0.00                  FA
     VIN 1S9AB15B1DH474312


 84. TRAILER - 2013 STEPHENS                                           25,000.00                     25,000.00                                                0.00                  FA
     VIN 1S9AB15B3DH474313


 85. TRAILER - 2013 STEPHENS                                           25,000.00                     25,000.00                                                0.00                  FA
     VIN 1S9AB15B5DH474314




LFORM1                                                                                                                                                                                             Ver: 22.06b
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Case Name:      PERMIAN CRUDE TRANSPORT, LP                                                                           Date Filed (f) or Converted (c):   06/24/19 (f)
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                                 1                                      2                        3                         4                         5                                 6
                                                                                        Estimated Net Value
                                                                    Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                          Asset Description                        Unscheduled        Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
              (Scheduled and Unscheduled (u) Property)               Values              and Other Costs)          OA=554(a) Abandon             the Estate

 86. TRAILER - 2013 STEPHENS                                           25,000.00                     25,000.00                                                0.00                  FA
     VIN 1S9AB15B7DH474315

     LIEN OF COMMUNITY NATIONAL BANK - COLLATERAL
     VALUE $500,000.00. LIEN UNKNOWN


 87. TRAILER - 2013 STEPHENS                                           25,000.00                     25,000.00                                                0.00                  FA
     VIN 1S9AB15B9DH474316


 88. TRAILER - 2013 STEPHENS                                           25,000.00                     25,000.00                                                0.00                  FA
     VIN 1S9AB15B0DH474317


 89. TRAILER - 2013 STEPHENS                                           25,000.00                     25,000.00                                                0.00                  FA
     VIN 1S9AB15B4DH474479


 90. TRAILER - 2013 STEPHENS                                           25,000.00                     25,000.00                                                0.00                  FA
     VIN 1S9AB15B0DH474480


 91. TRAILER - 2013 STEPHENS                                           25,000.00                     25,000.00                                                0.00                  FA
     VIN 1S9AB15B2DH474481


 92. TRAILER - 2013 STEPHENS                                           25,000.00                     25,000.00                                                0.00                  FA
     VIN 1S9AB15B4DH474482


 93. TRAILER - 2013 STEPHENS                                           25,000.00                     25,000.00                                                0.00                  FA
     VIN 1S9AB15B6DH474483




LFORM1                                                                                                                                                                                             Ver: 22.06b
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                                                                                     ASSET CASES
Case No:        19-32071       SWE   Judge: SCOTT W. EVERETT                                                           Trustee Name:                     DANIEL J. SHERMAN, TRUSTEE
Case Name:      PERMIAN CRUDE TRANSPORT, LP                                                                           Date Filed (f) or Converted (c):   06/24/19 (f)
                                                                                                                      341(a) Meeting Date:               07/24/19
                                                                                                                      Claims Bar Date:                   12/11/19



                                 1                                      2                        3                         4                         5                                 6
                                                                                        Estimated Net Value
                                                                    Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                          Asset Description                        Unscheduled        Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
              (Scheduled and Unscheduled (u) Property)               Values              and Other Costs)          OA=554(a) Abandon             the Estate


 94. TRAILER - 2013 STEPHENS                                           25,000.00                     25,000.00                                                0.00                  FA
     VIN 1S9AB15B8DH474484


 95. TRAILER - 2013 STEPHENS                                           25,000.00                     25,000.00                                                0.00                  FA
     VIN 1S9AB15BXDH474485


 96. TRAILER - 2013 STEPHENS                                           25,000.00                     25,000.00                                                0.00                  FA
     VIN 1S9AB15B1DH474486


 97. TRAILER - 2013 STEPHENS                                           25,000.00                     25,000.00                                                0.00                  FA
     VIN 1S9AB15B3DH474487


 98. TRAILER - 2013 STEPHENS                                           25,000.00                     25,000.00                                                0.00                  FA
     VIN 1S9AB15B5DH474488


 99. TRAILER - 2013 STEPHENS                                           25,000.00                     25,000.00                                                0.00                  FA
     VIN 1S9AB15B7DH474489


 100. TRAILER - 2013 STEPHENS                                          25,000.00                     25,000.00                                                0.00                  FA
     VIN 1S9AB15B3DH474490


 101. TRAILER - 2013 STEPHENS                                          25,000.00                     25,000.00                                                0.00                  FA
     VIN 1S9AB15B5DH474491


 102. TRAILER - 2013 STEPHENS                                          25,000.00                     25,000.00                                                0.00                  FA



LFORM1                                                                                                                                                                                             Ver: 22.06b
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                                                                                     ASSET CASES
Case No:        19-32071       SWE   Judge: SCOTT W. EVERETT                                                           Trustee Name:                     DANIEL J. SHERMAN, TRUSTEE
Case Name:      PERMIAN CRUDE TRANSPORT, LP                                                                           Date Filed (f) or Converted (c):   06/24/19 (f)
                                                                                                                      341(a) Meeting Date:               07/24/19
                                                                                                                      Claims Bar Date:                   12/11/19



                                 1                                      2                        3                         4                         5                                 6
                                                                                        Estimated Net Value
                                                                    Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                          Asset Description                        Unscheduled        Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
              (Scheduled and Unscheduled (u) Property)               Values              and Other Costs)          OA=554(a) Abandon             the Estate

     VIN 1S9AB15B7DH474492


 103. TRAILER - 2013 STEPHENS                                          25,000.00                     25,000.00                                                0.00                  FA
     VIN 1S9AB15B9DH474493


 104. TRAILER - 2013 STEPHENS                                          25,000.00                     25,000.00                                                0.00                  FA
     VIN 1S9AB15B0DH474494


 105. TRAILER - 2013 STEPHENS                                          25,000.00                     25,000.00                                                0.00                  FA
     VIN 1S9AB15B2DH474495


 106. TRAILER - 2014 CONICAL                                           27,500.00                     27,500.00                                                0.00                  FA
     VIN 1S9AB15B4EH474015


 107. TRAILER - 2014 CONICAL                                           27,500.00                     27,500.00                                                0.00                  FA
     VIN 1S9AB15B6EH474016


 108. TRAILER - 2014 CONICAL                                           27,500.00                     27,500.00                                                0.00                  FA
     VIN 1S9AB15B8EH474017


 109. TRAILER - 2012 DRAGON                                            24,000.00                     24,000.00                                                0.00                  FA
     VIN 1UNST4420CS093497


 110. TRAILER 2009 POLAR                                               19,000.00                     19,000.00                                                0.00                  FA
     VIN 1PMA3432091032868




LFORM1                                                                                                                                                                                             Ver: 22.06b
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                                                                                     ASSET CASES
Case No:        19-32071      SWE    Judge: SCOTT W. EVERETT                                                           Trustee Name:                     DANIEL J. SHERMAN, TRUSTEE
Case Name:      PERMIAN CRUDE TRANSPORT, LP                                                                           Date Filed (f) or Converted (c):   06/24/19 (f)
                                                                                                                      341(a) Meeting Date:               07/24/19
                                                                                                                      Claims Bar Date:                   12/11/19



                                 1                                      2                        3                         4                         5                                 6
                                                                                        Estimated Net Value
                                                                    Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                          Asset Description                        Unscheduled        Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
              (Scheduled and Unscheduled (u) Property)               Values              and Other Costs)          OA=554(a) Abandon             the Estate

 111. TRAILER - 2012 BRENNER                                           24,000.00                     24,000.00                                           8,625.00                   FA
     VIN 10BFA823XCF0C5790


 112. TRAILER 2013 BRENNER                                             25,000.00                     25,000.00                                           8,886.36                   FA
     VIN 10BFA8233CF0C5792


 113. TRAILER - 2012 BRENNER                                           24,000.00                     24,000.00                                           8,886.36                   FA
     VIN 10BFA8235CF0C5793


 114. TRAILER - 2012 BRENNER                                           24,000.00                     24,000.00                                           8,886.36                   FA
     VIN 10BFA8234CF0C6000


 115. TRIALER - 2012 BRENNER                                           24,000.00                     24,000.00                                                0.00                  FA
     VIN 10BFA8231CF0C6004


 116. TRAILER - 2012 BRENNER                                           24,000.00                     24,000.00                                           8,363.64                   FA
     VIN 10BFA8233CF0C6246


 117. TRAILER - 2013 BRENNER                                           25,000.00                     25,000.00                                                0.00                  FA
     VIN 10BFA8239EF0C9798


 118. TRAILER - 2015 BRENNER                                           32,500.00                     32,500.00                                           9,931.82                   FA
     VIN 10BFA8233FLP10224


 119. 2012 CHEVY SILVERADO PICKUP                                       4,000.00                      4,000.00                                                0.00                  FA
     VIN 1GB5CZCG6CZ220614



LFORM1                                                                                                                                                                                             Ver: 22.06b
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Case No:        19-32071      SWE    Judge: SCOTT W. EVERETT                                                           Trustee Name:                     DANIEL J. SHERMAN, TRUSTEE
Case Name:      PERMIAN CRUDE TRANSPORT, LP                                                                           Date Filed (f) or Converted (c):   06/24/19 (f)
                                                                                                                      341(a) Meeting Date:               07/24/19
                                                                                                                      Claims Bar Date:                   12/11/19



                                 1                                      2                        3                         4                         5                                 6
                                                                                        Estimated Net Value
                                                                    Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                          Asset Description                        Unscheduled        Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
              (Scheduled and Unscheduled (u) Property)               Values              and Other Costs)          OA=554(a) Abandon             the Estate


 120. 2012 FORD F250 PICKUP                                            12,500.00                     12,500.00                                                0.00                  FA
     VIN 1FT7W2BT2CEC76185


 121. 2010 TOYOTA TUNDRA                                                7,500.00                      7,500.00                                                0.00                  FA
     VIN 5TFDW51F13AX149041


 122. 2013 TOYOTA TUNDRA                                               10,000.00                     10,000.00                                                0.00                  FA
     VIN 5YFUW5F10DX285308


 123. 2013 TOYOTA TUNDRA                                               10,000.00                     10,000.00                                                0.00                  FA
     VIN 5TFUW5F1XDX285154


 124. 2013 CHEVY SILVERADO PICKUP                                       5,000.00                      5,000.00                                                0.00                  FA
     VIN 1GB2CVCG4DZ209530


 125. 2013 FORD F350 PICKUP                                            20,000.00                     20,000.00                                                0.00                  FA
     VIN 1FT8W3BT5DEA55353


 126. 2012 FORD F150 PICKUP                                             9,000.00                      9,000.00                                                0.00                  FA
     VIN 1FTFWICTXCFC56572


 127. 2013 FORD EXPEDITION                                             12,500.00                     12,500.00                                                0.00                  FA
     VIN 1FMUK1H57DEF20155


 128. 2014 TOYOTA TUNDRA                                               15,000.00                     15,000.00                                                0.00                  FA



LFORM1                                                                                                                                                                                             Ver: 22.06b
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Case No:        19-32071      SWE    Judge: SCOTT W. EVERETT                                                            Trustee Name:                      DANIEL J. SHERMAN, TRUSTEE
Case Name:      PERMIAN CRUDE TRANSPORT, LP                                                                            Date Filed (f) or Converted (c):    06/24/19 (f)
                                                                                                                       341(a) Meeting Date:                07/24/19
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                                 1                                      2                         3                         4                         5                                   6
                                                                                         Estimated Net Value
                                                                    Petition/       (Value Determined by Trustee,    Property Formally           Sale/Funds                 Asset Fully Administered (FA)/
                          Asset Description                        Unscheduled         Less Liens, Exemptions,          Abandoned                Received by               Gross Value of Remaining Assets
              (Scheduled and Unscheduled (u) Property)               Values               and Other Costs)          OA=554(a) Abandon             the Estate

     VIN 5TFDW5F12EX386187


 129. 2015 CHEVY SILVERADO PICKUP                                      17,000.00                       17,000.00                                                0.00                    FA
     VIN 1GB4CYCGOFF542385


 130. 2015 DODGE RAM 3500 PICKUP                                       24,000.00                       24,000.00                                                0.00                    FA
     VIN 3C63RRGL4FG618750


 131. CAUSE OF ACTION AGAINST THIRD PARTIES (u)                       270,000.00                      270,000.00                                                0.00                    FA
     ** AMENDED 07/23/2019
     PERMIAN CRUDE TRANSPORT, LP v 02 LOGISTICS, LLC, KEVIN
     MARTIN AND DOES 1-10. NO. 19-02599 IN THE 116TH JUDICIAL
     DISTRICT COURT OF DALLAS COUNTY, TEXAS
     NATURE OF CLAIM: DAMAGES, DECLARATORY &
     INJUNCTIVE RELIEF


 132. CAUSE OF ACTION AGAINST THIRD PARTIE (u)                          Unknown                             1.00                                                0.00                    FA
     *AMENDED 07/23/2019
     LEGACY RESERVES OPERATING, LP, CASE NO. 19-33401
     PENDING BEFORE THE U.S. BANKRUPTCY COURT FOR THE
     SOUTHERN DISTRICT OF TEXAS (JOINTLY ADMINISTERED
     UNDER CASE NO. 19-33395
     NATURE OF CLAIM: CLAIM AGAINST CH 11 BANKRUPTCY
     ESTATE

                                                                                                                                                                          Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                  $3,857,464.05                 $3,857,465.05                                           $77,189.03                           $0.00




LFORM1                                                                                                                                                                                                 Ver: 22.06b
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                                                                                                            ASSET CASES
Case No:             19-32071       SWE     Judge: SCOTT W. EVERETT                                                                             Trustee Name:                     DANIEL J. SHERMAN, TRUSTEE
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                                       1                                                    2                            3                          4                         5                                   6
                                                                                                              Estimated Net Value
                                                                                      Petition/          (Value Determined by Trustee,       Property Formally           Sale/Funds                 Asset Fully Administered (FA)/
                              Asset Description                                      Unscheduled            Less Liens, Exemptions,             Abandoned                Received by               Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                             Values                  and Other Costs)             OA=554(a) Abandon             the Estate

                                                                                                                                                                                                 (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   CLAIMS TO BE REVIEWED AND OBJECTIONS FILED, IF NECESSARY. ACCOUNTANT EMPLOYED. ESTIMATED DATE OF TFR IS 12/01/2022.


   Initial Projected Date of Final Report (TFR): 07/01/20           Current Projected Date of Final Report (TFR): 12/01/22




LFORM1                                                                                                                                                                                                                        Ver: 22.06b
